Case 6:20-cv-00024-NKM-RSB Document 110-2 Filed 08/21/20 Page 1 of 3 Pageid#: 2354




                                  UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA                          8/21/2020
                                         Lynchburg Division


   LEAGUE OF WOMEN VOTERS OF
   VIRGINIA;      KATHERINE    D.
   CROWLEY;     SEIJRA   TOOGOOD;
   GAYLE     HARDY;    CAROL   D.
   PETERSEN; and TRACY SAFRAN,                         Case No. 6:20-cv-00024-NKM-RSB

                      Plaintiffs,

               v.

   VIRGINIA      STATE      BOARD        OF
   ELECTIONS; ROBERT H. BRINK,
   JOHN O’BANNON, and JAMILAH D.
   LECRUISE, in their official capacities as
   Chairman, Vice-Chair, and Secretary of
   the Virginia State Board of Elections,
   respectively; and CHRISTOPHER E.
   PIPER, in his official capacity as
   Commissioner of the Virginia Department
   of Elections,

                       Defendants,

   REPUBLICAN PARTY OF VIRGINIA,

                      Intervenor-Defendant.


               ADDENDUM TO PARTIAL CONSENT JUDGMENT AND DECREE

          1.        Whereas, in filing their Joint Motion for Entry of a Partial Consent Judgment and

   Decree (ECF No. 95), Proposed Partial Consent Judgment and Decree (ECF No. 95-1), and

   Memorandum in Support (ECF No. 96), Plaintiffs and Defendants (collectively, the “Consent

   Parties”), in referring to the “November 3, 2020 General Election” and the “November Election,”

   intended to include all elections and measures for which Virginia voters are able to cast ballots
Case 6:20-cv-00024-NKM-RSB Document 110-2 Filed 08/21/20 Page 2 of 3 Pageid#: 2355




   with an election date of November 3, 2020, including any special elections, ballot referenda, or

   other measures appearing on Virginia voters’ ballots that are set to that Election Date.

           2.      Whereas the same justifications for entry of the Proposed Partial Judgment and

   Consent Decree for the General Election occurring on November 3, 2020, apply with equal force

   to any other special elections, ballot referenda, and any other measures appearing on a ballot for

   this election date.

           3.      Whereas excluding special elections, ballot referenda, and other measures

   appearing on Virginia voters’ ballots in connection with the November 3, 2020 election but

   including General Election choices would lead to confusion.

           4.      Whereas the Consent Parties wish to incorporate this Addendum by reference into

   the Proposed Partial Consent Judgment and Decree (ECF No. 95-1).

   IT IS HEREBY ORDERED, ADJUDGED, AND DECREED FOR THE REASONS

   STATED ABOVE IN PARAGRAPHS 1 to 4 THAT:

           1.      The terms “November Election” and “November 3, 2020 General Election,” where

   they appear in the Proposed Partial Consent Judgment and Decree (ECF No. 95-1) shall be deemed

   to include any elections, including special elections, ballot referenda, or other measures with an

   election date of November 3, 2020, on which a Virginia voter may cast a ballot.

           2.      This Addendum is hereby incorporated by reference into the Partial Consent Decree

   and Judgment entered by the Court as of this same date. All of other terms and conditions of the

   Partial Consent Decree and Judgment shall remained unchanged.



                                                                _______________________
                                                                United States District Judge
             August 21
   Dated: _______________, 2020

                                                    2
Case 6:20-cv-00024-NKM-RSB Document 110-2 Filed 08/21/20 Page 3 of 3 Pageid#: 2356




    /s/ Davin M. Rosborough_______________          MARK R. HERRING
    Davin M. Rosborough (VSB # 85935)               Attorney General of Virginia
    Dale E. Ho*                                     By: /s/ Michelle S. Kallen
    Sophia Lin Lakin*                               CAROL L. LEWIS (VSB #92362)
    Theresa J. Lee*                                 MICHELLE S. KALLEN (VSB #93286)
    Adriel I. Cepeda-Derieux*                       HEATHER HAYS LOCKERMAN (VSB #65535)
    American Civil Liberties Union Foundation       Office of the Attorney General
    125 Broad Street, 18th Floor                    202 North Ninth Street
    New York, NY 10004                              Richmond, Virginia 23219
    Phone: (212) 549-2500                           804-692-0558 (telephone)
    drosborough@aclu.org                            804-692-1647 (facsimile)
    dho@aclu.org                                    clewis@oag.state.va.us
    slakin@aclu.org
    tlee@aclu.org                                   Attorneys for Robert H. Brink, John O’Bannon,
    acepedaderieux@aclu.org                         Jamilah D. LeCruise and Christopher E. Piper in
                                                    their official capacities, and the Virginia State
    Vishal Agraharkar (VSB #93265)                  Board of Elections
    Eden Heilman (VSB #93554)
    AMERICAN CIVIL LIBERTIES UNION
    FOUNDATION OF VIRGINIA
    701 E. Franklin Street, Suite 1412
    Richmond, Virginia 23219
    Phone: (804) 644-8080
    Fax: (804) 649-2733
    vagraharkar@acluva.org
    eheilman@acluva.org

    Attorneys for Plaintiffs

    *Admitted Pro Hac Vice




                                                3
